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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA
                             PITTSBURGH DIVISION


WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and
on behalf of all others similarly situated,
                                                      Case No. 2:18-cv-01135-AJS
                        Plaintiff,

v.

PC SHIELD INC., an Oklahoma corporation,

                    Defendant.
              PLAINTIFF’S MOTION FOR LEAVE TO FILE AN AMENDED
                   COMPLAINT AND TO CONDUCT DISCOVERY

       Plaintiff Wendell H. Stone Company, Inc. d/b/a Stone & Company (“Plaintiff” or

“Stone”) pursuant to F.R.C.P. 15(a)(2) hereby respectfully moves this Court for an order

granting Plaintiff leave to file a first amended complaint in the above captioned case.

Additionally, following service of the amended complaint, Plaintiff moves the Court for an order

granting leave to conduct discovery. In support of the instant motion, Plaintiff states as follows:

       1.      On August 27, 2018, Plaintiff bought this class action lawsuit alleging wide-scale

violations of the Telephone Consumer Protection Act, as amended by the Junk Fax Prevention

Act of 2005, 47 U.S.C. § 227, et seq. (“JFPA” or Act”)—specifically, challenging Defendant PC

Shield, Inc.’s (“Defendant” or “PC Shield”) practice of sending unsolicited fax advertisements in

violation of the Act.

       2.      On October 30, 2018, the Clerk of Court, pursuant to Rule 55(a), entered default

against Defendant. (See Dkt. 8.)

       3.      On November 2, 2018, Plaintiff filed its Motion for Default Judgment, Motion for

Class Certification, and Motion for Leave to Conduct Limited Discovery (“Motion”). (Dkt. 11.)



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       4.         On November 19, 2018, the Court granted Plaintiff’s Motion to conduct limited

discovery related to class certification, including serving written discovery on Defendant. (See

Dkt. 13, ¶ 13.)

       5.         Thereafter, Plaintiff drafted and served written discovery, which PC Shield

predictably ignored.

       6.         To date, Defendant has not responded or otherwise engaged in the litigation in

any fashion.

       7.         Fed. R. Civ. P. 15 states “a party may amend its pleading only with the opposing

party's written consent or the court's leave. The court should freely give leave when justice so

requires.” Fed. R. Civ. P. 15(a)(2).

       8.         Given PC Shield’s wholesale refusal to appear and answer for its unlawful

actions, Plaintiff is left with little recourse. Throughout the litigation, it has become apparent that

PC Shield is merely being used as a shell corporation to shield its principal, Brandie M. Jordan,

from personal liability.

       9.         Therefore, Plaintiff respectfully requests that this Court issue an order granting

leave to amend Plaintiff’s Complaint. Plaintiff intends to amend its pleadings to include Brandie

M. Jordan and potentially other officers, principals, or shareholders of PC Shield as additional

Defendant(s) in this action. Further, Plaintiff will add allegations supporting its contention as to

why the Court should pierce the corporate veil. This includes the following information: PC

Shield has no physical location, its registered agent’s address is a P.O. Box, and PC Shield’s

registered agent, Brandie M. Jordan, previously reached an agreement with the FTC, which put

an end to her prior telemarketing activities that were found to be deceptive and fraudulent.

       10.        Additionally, Fed. R. Civ. P. 26 provides, “A party may not seek discovery from




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any source before the parties have conferred as required by Rule 26(f), except in a proceeding

exempted from initial disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by

stipulation, or by court order.” Fed. R. Civ. P. 26(d)(1) (emphasis added).

       11.     Here, Plaintiff anticipates the need to conduct additional discovery regarding

Brandie M. Jordan, including what her role in sending the faxes at issue was. Plaintiff intends to

serve written discovery requests upon Brandie M. Jordan. Further, Plaintiff may serve

subpoenas, if necessary, upon third parties who may have discoverable information. Therefore,

in addition to requesting leave to amend its pleadings, Plaintiff respectfully requests that the

Court issue an order granting leave to conduct discovery following the service of the First

Amended Complaint and an opportunity to respond.

       WHEREFORE, Plaintiff respectfully requests that the Court enter an Order granting

Plaintiff’s Motion for Leave to File an Amended Complaint and to Conduct Discovery, and for

such additional relief as the Court deems necessary and just.

                                                      Respectfully,

Dated: June 14, 2019                                  STONE & COMPANY, INC., individually,
                                                      and on behalf of all others similarly situated,

                                                      /s/ Patrick H. Peluso
                                                      One of Plaintiff’s Attorneys

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                                                    Counsel for Plaintiff and the Putative Class

                                                    *pro hac vice admission




                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the above titled

document was served upon counsel of record by filing such papers via the Court’s ECF system

on June 14, 2019.

                                                    /s/ Patrick H. Peluso




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